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                RETRIEVED!                            Southwest Florida, Mountain Watershed Association and
                                                      Sierra Club in 20−1317 [Service Date: 10/13/2023 ] Length
                                                      of Brief: 8,990 Words. [20−1317, 20−1318, 20−1431,
                                                      21−1009] (Marshall, Bradley)




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